                  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 1 of 23 PageID #:1855                                                      u
ILND 245C(Rev. 9/23/2019) Amended Judgment in a Criminal Case                                                 (Note: Identify Changes with Asterisks(*))
Sheet 5-Criminal Monetary Penalties                                                                                              Judgment- Page 1 of2

DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)
                                      UNITED STATES DISTRICT COURT
                                                           Northern District of Illinois

 UNITED STATES OF AMERICA                                                  AMENDED JUDGMENT IN A CRIMINAL CASE
           V.

 ROBERT O'ROURKE                                                           Case Number:       I:I7-CR-00495(1)
                                                                           USM Number:        52509-424
Date of Original Judgment: 10/25/2019
(Or Date of Last Amended Judgment)
                                                                           Anthony James Masciopinto
                                                                           Defendant’s Attorney
 Reason for Amendment:

 □ Correction of Sentence on Remand (18 U.S.C. 3742(0( 1) and (2))          □ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
 □ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.               3583(e))
      P. 35(b))                                                             □ Modification of Imposed Term of Imprisonment for Extraordinary
 □ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))        and Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                            □ Modification of Imposed Term of Imprisonment for Retroactive
 ISI Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                              Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
                                                                                3582(c)(2))
                                                                            □ Direct Motion to District Court Pursuant D 28 U.S.C. § 2255
                                                                                or □ 18 U.S.C. § 3559(c)(7)
                                                                            □ Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
   □ pleaded guilty to count(s)
   □ pleaded nolo contendere to count(s)       which was accepted by the court.
     was found guilty on count(s) 1,2, 3,4, 11,12,13 of the indictment after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                               Offense Ended                   Count
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      1
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      2
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      3
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      4
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      II
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      12
 18:1832.F   Theft   Of Trade   Secrets                                                            09/21/2015                      13


(*)The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984. Other than the amendments or modifications stated in this judgment the judgment previously entered shall
stand. (See attachments^

  IS The defendant has been found not guilty on count(s) 5, 6, 7, 8,9, and 10 of the indictment.
  □ Count{s) «dismissd_counts» dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   November 20, 2019
                                                                                   D^of Impo^iti^of Judgment

                                                                                   Signature of Judge

                                                                                   Andrea R. Wood , United States District Judge
                                                                                   Name and Title of Judge
                                                                                    nisoisioifi
                                                                                   Date
                 Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 2 of 23 PageID #:1856
ILND 245C (Rev. 9/23/2019) Amended Judgment in a Criminal Case                                                     (Note: Identify Changes with Asterisks (*))
Sheet 6- Schedule of Payments                                                                                                         J ud.ginent- Page 2 of 2
DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A              K Lump sum payment of$100,700.00 due immediately.

                  □      balance due not later than          , or


                □        balance due in accordance with          □ C,   □ D,     □ E, or □ F below; or


B         □    Payment to begin immediately (may be combined with              d C,     □ D, or     □ F below); or

C         □ Payment in equal               (e.g. weekly, monthly, quarterly) installments of$          over a period of          (e.g.. months or years), to
               commence            (e.g., 30 or 60 days) after the date of this judgment; or

D         □ Payment in equal              (e.g. weekly, monthly, quarterly) installments of $          over a period of          (e.g. . months or years), to
               commence            (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E         □ Payment during the term of supervised release will commence within                    (e.g.. 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         □ Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    D Joint and Several

Case Number                                       Total Amount                 Joint and Several           Corresponding Payee, if
Defendant and Co-Defendant Names                                               Amount                      Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers {including defendant number). Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.

    □ The defendant shall pay the cost of prosecution.

    □ The defendant shall pay the following court cost(s):

(*)I3 The defendant shall forfeit the defendant’s interest in the following property to the United States: See attached forfeiture order.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 3 of 23 PageID #:1857         LA




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 UNITED STATES OF AMERICA
                                              No. 17 CR 495
       V.


                                              Judge Andrea R. Wood
 ROBERT O’ROURKE


                  PRELIMINARY ORDER OF FORFEITURE


      The United States asks this Court to issue a preliminary order of forfeiture as

to specific property pursuant to the provisions of Title 18, United States Code,

Sections 1834 and 2323(a)(1)(B) and (b)(1) and in support thereof submits the

following:

      (a)    On July 19, 2017, an indictment was returned charging defendant

ROBERT O’ROURKE with theft of trade secrets and attempted theft of trade secrets.

in violation of 18 U.S.C. § 1832(a)(Counts 1-13);

      (b)    The indictment also included a forfeiture allegation advising defendant

ROBERT O’ROURKE that as a result of his violations of 18 U.S.C. § 1832(a), he

would be required to forfeit, pursuant to the provisions of 18 U.S.C. §§ 1834 and

2323(a)(1)(B) and (b)(1), any property used, or intended to be used, in any manner or

part to commit or facilitate the commission of the offense, including, but not limited

to, a Western Digital My Passport Ultra, bearing serial number WX71AC3W0497;

      (c)    On February 5, 2019, a jury trial was held before this Court;
  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 4 of 23 PageID #:1858




      (d)    On February 22, 2019, defendant ROBERT O’ROURKE waived his right

to have the forfeiture allegation in the indictment considered by a jury. It was agreed

instead that this Court would consider the issues relating to forfeiture;

      (e)    On February 25, 2019, the jury returned a verdict of guilty against

defendant ROBERT O’ROURKE as to Counts 1-4 and 11-13 of the indictment.

thereby making the aforementioned property subject to forfeiture pursuant to

18 U.S.C. § 1834 and 2323(a)(1)(B) and (b)(1), which states in pertinent part:

      18 U.S.C.   2323. Forfeiture, destruction, and restitution.

      (a)(1)(B)

             Any property used, or intended to be used, in any manner or part to
             commit or facilitate the commission of an offense.


      (0     Based on the evidence presented at trial, and because of the defendant’s

conviction of 18 U.S.C.   1832(a), the government requests that this Court enter a

preliminary order of forfeiture finding that the Western Digital My Passport Ultra

bearing serial number WX71AC3W0497 was used, or intended to be used, to commit

or facilitate the commission of 18 U.S.C. § 1832(a) and is subject to forfeiture

pursuant to 18 U.S.C. § 1834 and 2323(a)(1)(B) and (b)(1). More specifically,

defendant used the Western Digital My Passport Ultra, bearing serial number

WX71AC3W0497 to download and store the trade secrets for which he was convicted

of stealing from Dura-Bar at trial;




                                          2
  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 5 of 23 PageID #:1859




      (g)    The United States requests that the terms and conditions of this

preliminary order of forfeiture entered by the Court he made part of the sentence

imposed against defendant ROBERT O’ROURKE and included in any judgment and

commitment order entered in this case against him.

      Accordingly, it is hereby ORDERED, ADJUDGED and DECREED:

      1.     The Motion of the United States for Entry of a Preliminary Order of

Forfeiture is granted.

      IT IS FURTHER ORDERED


      2.     That, pursuant to the provisions of 18 U.S.C. §§ 1834 and 2323(a)(1)(B)

and (b)(1) as well as Fed. R. Crim. P. 32.2, all right, title and interest defendant

ROBERT O’ROURKE may have in a Western Digital My Passport Ultra, bearing

serial number WX71AC3W0497 is hereby forfeit to the United States of America for

disposition according to law.

      IT IS FURTHER ORDERED,

      3.     That, pursuant to the provisions of 21 U.S.C. § 853(g), as incorporated

by 18 U.S.C. § 2323(b)(2), the United States Marshal Service shall seize and take

custody of the Western Digital My Passport Ultra, bearing serial number

WX71AC3W0497 for disposition according to law, including destruction.




                                         3
  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 6 of 23 PageID #:1860




      IT IS FURTHER ORDERED,

      4.     That, pursuant to the provisions of 21 U.S.C. § 853(n)(l),               as




incorporated byl8 U.S.C. § 2323(b)(2), upon entry of this preliminary order of

forfeiture, the United States shall publish notice of this order and of its intent to

dispose of the property according to law. The government may also, to the extent

practicable, pursuant to statute, provide written notice to any person known to have

alleged an interest in the property that is the subject of the preliminary order of

forfeiture. The government is unaware, at this time, of anyone who qualifies for such

notice.


      IT IS FURTHER ORDERED,

      5.     That, pursuant to the provisions of 21 U.S.C.               853(n)(2),   as




incorporated by 18 U.S.C. § 2323(b)(2), if, following notice as directed by this Court

and 21 U.S.C. § 853(n)(l), as incorporated by 18 U.S.C. § 2323(b)(2), any person other

than the defendant, asserts an interest in the property which has been ordered

forfeited to the United States, within thirty days of the final publication of notice or

his receipt of notice under paragraph four, whichever is earlier, and petitions the

court for a hearing to adjudicate the validity of his alleged interest in the property,

the government shall request a hearing. The hearing shall be held before the court

alone, without a jury.




                                           4
  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 7 of 23 PageID #:1861




         IT IS FURTHER ORDERED,

         6.   That, following the Court’s disposition of all third party interests, upon

the government’s motion, the Court shall, if appropriate, enter a final order of

forfeiture as to the property which is the subject of this preliminary order of

forfeiture, vesting clear title in the United States of America.

         IT IS FURTHER ORDERED,

         8.   That, the terms and conditions of this preliminary order of forfeiture

entered by the Court be made part of the sentence imposed against defendant

ROBERT O’ROURKE and included in any judgment and commitment order entered

in this case against him.

         IT IS FURTHER ORDERED


         9.   This Court shall retain jurisdiction in this matter to take additional

action and enter further orders as necessary to implement and enforce this forfeiture

order.




                                        ANDREA R. WOOD
                                        United States District Judge


DATED: November 20, 2019




                                           5
                  Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 8 of 23 PageID #:1862
                                                                                                                                                                   Lh
ILND 2-t5C(Rev.9/23/2019) Amended Judgment in a Criminal Ca.se                                                    (Note: Identify Changes with ,-\slerisk.s (•))
Sheet 1




                                          UNITED STATES DISTRICT COURT
                                                               Northern District of Illinois

 UNITED STATES OF AMERICA                                                      AMENDED JUDGMENT IN A CRIMINAL CASE
           V.

 ROBERT O'ROURKE                                                               Case Number:        1:17-CR-00495( I)
                                                                               USM Number:         52509-424
 Date of Original Judgment: 10/9/2019
                                                                               Anlhony .lames Masciopinto
(Or Date of Last Amended Judgment)
                                                                               Defendant’s Attorney
 Reason for Amendment:

 D Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))              □ Modification ofSupervision Conditions (18 1 l.S.C, §§ 3563(c) or
 C3 Reduction of Sentence for Changed Circumstances(Fed. R. Crim.                  3583(c))
      P. 35(b))                                                                □ Modification of imposed t'erm of Impri.sonment for l-Atniordinary
 D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           and Compelling Rca,son.s (18 U.S.C. § 3582(c)( I ))
 Kl Correction of Sentence for Clerical htistake(Fed. R. Crim. P. 36)          □ Modillcation of Imposed fenn of Imprisonment for Retroactive
                                                                                   Amcndment(s) to the Sentcncine Guidelines (18 U.S.C. §
                                                                                   3582(c)(2))
                                                                               □ Direct Motion to District Court Pursuant □ 28 ( ' .S.C. § 2255
                                                                                   or □ 18 U.S.C. ij 3559(c)(7)
                                                                               □ Modification of Rc.slitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
   □ pleaded guilty to count(s)
   □ pleaded nolo contendere to count(s)              which was accepted by the court.
   El was found guilty- on count(s) 1,2, 3,4, 11, 12, 13 of the indictment after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                     Offense Ended                      Count
  18:1832.F    Theft    Of Trade   Secrets                                                               ()9,/21/20l5                       I
  18:1832.F    Tlietl   Of Trade   Secrets                                                               09./21/2()15
  I8:1832.F    Theft    Of Trade   .Secrets                                                              09/21/2015                         3
  18;I832.F    Theft    OfTrade    Secrets                                                               09/21/2015                         4
  18:1832.F    Theft    Of Trade   Secrets                                                               09;'2!/20l5                        1 1
  18:1832.1-   Theft    OfTrade    Secrets                                                               09,/21/2015                        12
  18:1832.F    Theft    Of Trade   Secrets                                                               09/21 ..'2015                      13


(*)The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984. Other than the amendments or modifications stated in this judgment, the judgment nrcvioiislv entered shall
stand. (Sec attachments)

   E The defendant has been found not guilty on count(s) 5, 6, 7, 8, 9, and 10 of the indictment.
   □ Count(s) «disiTiissd_counts» dismissed on the motion of the United State.s.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all lines, restitution, costs, and special as.sessments imposed bv this judgment are fullv'[)aid. If ordered to
pay re.stituiion, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                      October 25^
                                                                                      Dj
                                                                                              lof Imjjosition oipjudgmen:

                                                                                    . Signature of Judge
                                                        WAT
                                                         V >                          Andrea R. Wood , United States District Judge
                                                                                      Name and Title of Judge

                                                                                      Date
              Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 9 of 23 PageID #:1863
ILND 245C(Rev. 9/23/2019) Amended Judgment in a Criminal Case                                               (Note: Identify Changes with Asterisks(*))
Sheet 2- Imprisonment                                                                                                          Judgment-Page 2 of8
DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(I)
                                                                IMPRISONMENT

The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total term of:
12 months and 1 day as to each of Counts 1,2,3,4, 11, 12, and 13 ofthe Indictment, terms to be served concurrently.

  [SI    The court makes the following recommendations to the Bureau of Prisons:
Court recommends Defendant to be placed at FCl Oxford.
   □     The defendant is remanded to the custody of the United States Marshal.
   □     The defendant shall surrender to the United States Marshal for this district:

             □     at        on


        □     as notified by the United States Marshal.

        IS    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                   before 2:00 pm on 1/6/2020

             □     as notified by the United States Marshal,

             □     as notified by the Probation or Pretrial Services Office.




                                                                  RETURN


I have executed this judgment as follows:




Defendant delivered on                   to                               at
                                                                                                               , with a certified copy of this
Judgment.




                                                                                    UNITED STATES MARSHAL



                                                                               By
                                                                                    DEPUTY UNITED STATES MARSHAL
                Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 10 of 23 PageID #:1864
ILND 245C(Rev. 9/23/2019) Amended Judgment in a Criminal Case                                                      (Note: Identify Changes with Asterisks(•))
Sheet 3- Supervised Release                                                                                                           Judgment-Page 3 of8
DEFENDANT; ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)

         MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised release for a term of:

3 years as to each of Counts 1, 2, 3,4, 11, 12, and 13 ofthe Indictment, terms to be served concurrently. Defendant expects to be released to
the Eastern District of Wisconsin but will remain under the supervision ofthis Court unless and until jurisdiction is formally transferred.

              The court imposes those conditions identified by checkmarks below:

During the period of supervised release:
 KI (I) you shall not commit another Federal, State, or local crime.
 E] (2) you shall not unlawfully possess a controlled substance.
 □      (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
               an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
               domestic violence crime, as defined in § 3561(b).]
 n      (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. 8
               16913).
 El     (5)    you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 El     (6)    you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
               supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use of a controlled substance during
               each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
               if reliable sentencing information indicates a low risk of future substance abuse by the defendant.)

  DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3563(b) AND
                                                                  18 U.S.C § 3583(d)
Discretionary Conditions            The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set forth in § 3553(a)(1) and (a)(2)fBl. (0.and mi; .such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in 8 3553 (a)f2) fBl. fO. and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below;

During the period of supervised release:
 □      (I)     you shall provide financial support to any dependents if you are financially able to do so.
 □      (2)     you shall make restitution to a victim of the offense under § 3556 (but not subject to the limitation of 8 3663(a) or
                 8 3663A(c)(l)(A)).
 □      (3)      you shall give to the victims of the offense notice pursuant to the provisions of § 3555. as follows-
 El     (4)     you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
                conscientiously a course of study or vocational training that will equip you for employment,
 □      (5)     you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship
                to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
                stated degree or under stated circumstances; (if checked yes, please indicate restriction(s)) ijVi 1"^
        (6)     you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
                to be engaged, in criminal activity and shall not:
                  □ visit the following type of places:
                  □ knowingly meet or communicate with the following persons: ilH.
 IS    (7)      you shall refrain from □ any or S excessive use of alcohol (defined as IS having a blood alcohol concentration
                greater than 0.08; or □      ), and from any use of a narcotic drug or other controlled substance , as defined in § 102
                of the Controlled Substances Act U.S.C. § 802). without a prescription by a licensed medical practitioner,
       (8)      you shall not possess a firearm, destructive device, or other dangerous weapon.
       (9)        “ you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                         include urine testing up to a maximum of 104 tests per year,
                         you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                         any medications prescribed by the mental health treatment provider.
                  □ you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specify:
               Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 11 of 23 PageID #:1865

ILND 245C(Rev.9/23/2019) Amended Judgment in a Criminal Case                                                      (Note: Identify Changes with Asterisks(*))
Sheet 3- Supervised Release                                                                                                          Judgment-Page 4 of8
DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)
                              .)
 □      (10)    (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                intervals of time, totaling         [no more than the lesser of one year or the term of imprisonment authorized for the
                offense], during the first year of the term of supervised release (provided, however, that a condition set forth in
                §3S63(b)(10) shall be imposed only for a violation of a condition of supervised release in accordance with § 3583(e)(2)
                and only when facilities are available) for the following period liiiillri'.
 □      (11)    (community confinement): you shall reside at, or participate in the program of a community corrections facility
                (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                release, for a period of         months,
 □      (12)    you shall work in community service for IpB hours as directed by a probation officer,
 □      (13)    you shall reside in the following place or area:^^ or refrain from residing in a specified place or area:
 H      (14)    you shall not knowingly leave from the federal judicial district where you are being supervised, unless
                granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
                Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago,
 IS     (15)   you shall report to the probation office in the federal Judicial district to which you are released within 72 hours of your
               release from imprisonment. You shall thereafter report to a probation officer at reasonable times as directed by the court
               or a probation officer.
 El     (16)    IS      you shall permit a probation officer to visit you IS at any reasonable time or □ as specified:
                         S at home                IS at work                   □ at school                  IS at a community service location
                         IS other reasonable location specified by a probation officer
                  ^ you shall permit confiscation of any contraband observed in plain view of the probation officer,
 IS     (17)   you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
               workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
               truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege,
 K      (18)    you shall notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
               enforcement officer.
 □      (19) (home confinement)
               □       (a)(i) (home incarceration) for a period of     months, you are restricted to your residence at all times except for
                       medical necessities and court appearances or other activities specifically approved by the court.
               □       (a)(ii) (home detention) for a period of _ months, you are restricted to your residence at all times except for
                       employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
                       court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
               □       (a)(iii) (curfew) for a period of   months, you are restricted to your residence every day.
               □       from the times directed by the probation officer; or □ from       to    .
               □       (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                       by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                       by all technology requirements,
               □       (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are financially
                       able to do so.
 □      (20)   you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the
               District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                and maintenance of a child or of a child and the parent with whom the child is living,
 □      (21)   (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for          a

                determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
                and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
                United States without obtaining, in advance, the express written consent of the United States Attorney General or the
                United States Secretaiy of the Department of Homeland Security,
 Kl     (22)   you shall satisfy such other special conditions as ordered below.
 □      (23)    You shall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. 1030(e)(1)),
               other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
               Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
               occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search
               pursuant to this condition only when reasonable suspicion exists that you have violated a condition of your supervision and
               that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
               reasonable manner.
 □     (24)      Other:
             Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 12 of 23 PageID #:1866
ILND 245C(Rev. 9/23/2019) Amended Judgment in a Criminal Case                                                 (Note: Identify Changes with Asterisks (*))

DEFENDANT: ROBERT O’ROURKE
CASE NUMBER: 1:17-CR-00495(1)



SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term of supervised release:
 □   (1)      if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
                 Development(GED)preparation course and seek to obtain a GED within the first year ofsupervision,
 □     (2)       you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                 days of placement on supervision,
 El    (3)       you shall, if unemployed after the first 60 days ofsupervision, or if unemployed for 60 days after termination or lay-off
                 from employment, perform at least 20 hours of community service per week at the direction of the probation office until
                 gainfully employed. The total amount ofcommunity service required over your term ofservice shall not exceed 400
                 hours,
 □     (4)       you shall not maintain employment where you have access to other individual’s personal information, including, but not
                 limited to. Social Security numbers and credit card numbers(or money)unless approved by a probation officer,
       (5)       you shall not incur new credit charges or open additional lines of credit without the approval ofa probation officer
                 unless you are in compliance with the financial obligations imposed by this judgment,
       (6)       you shall provide a probation officer with access to any requested financial information requested by the probation
                 officer to monitor compliance with conditions of supervised release,
 El    (7)       within 72 hours ofany significant change in your economic circumstances that might affect your ability to pay
                 restitution, fines, or special assessments, you must notify the probation officer ofthe change,
 □     (8)       you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
 □     (9)      you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                probation officer. You shall comply with all recommended treatment which may include psychological and physiological
               testing. You shall maintain use of all prescribed medications.
                □
                       You shall comply with the requirements ofthe Computer and Internet Monitoring Program as administered by the
                       United States Probation Office. You shall consent to the installation ofcomputer monitoring software on all
                       identified computers to which you have access and to which the probation officer has legitimate access by right or
                       consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                       keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
                       will be placed on the computer at the time of installation to warn others of the existence ofthe monitoring
                       software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
                □      The cost ofthe monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                       to satisfaction of other financial obligations imposed by this judgment.
                □
                       You shall not possess or use at any location (including your place ofemployment), any computer, external storage
                       device, or any device with access to the Internet or any online computer service without the prior approval ofa
                       probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
                       network or email system
                □      You shall not possess any device that could be used for covert photography without the prior approval ofa
                       probation officer.
                □
                       You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                       sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                       to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                       determination, pursuant to 18 U.S.C.§ 3583(eX2),regarding whether to enlarge or otherwise modify the
                       conditions ofsupervision to include conditions consistent with the recommendations ofthe treatment provider.
               □
                       You shall not, without the approval ofa probation officer and treatment provider, engage in activities that will put
                       you in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
                       legations where
                       playgrounds, andpersons under
                                        childcare     the ageThis
                                                  facilities. of 18condition
                                                                     regularly congregate, including parks, schools, school bus stops,
                                                                             does not apply to contact in the course of normal commercial
                       business or unintentional incidental contact
               □
                       This condition does not apply to your family members:          [Names]
               □
                      Your employment shall be restricted to the judicial district and division where you reside or are supervised’ unless
                      approva is granted by a probation officer. Prior to accepting any form ofemployment, you shall seek the
                      approval ofa probation officer, in order to allow the probation officer the opportunity to assess the level ofrisk to
                      the community you will pose ifemployed in a particular capacity. You shall not participate in any volunteer
              Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 13 of 23 PageID #:1867
ILND 245C(Rev.9/23/2019) Amended Judgment in a Criminal Case                                                  (Note: identify Changes with Asterisks(*))

DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: l:17-CR-00495(!)
                       activity that may cause you to come into direct contact with children except under circumstances approved in
                       advance by a probation officer and treatment provider.
                □      You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                       any other financial information requested.
                □      You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                       impose restrictions beyond those set forth in this order,
       (10)      you shall pay to the Clerk ofthe Court any financial obligation ordered herein that remains unpaid at the
                commencement ofthe term ofsupervised release, at a rate of not less than 10% ofthe total of your gross earnings minus
                federal and state income tax withholdings,
       (11)      you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                prior permission ofthe court.
 □     (12)      you shall pay to the Clerk of the Court       as repayment to the United States of government funds you received
                 dun^the investigation of this offense. (The Clerk of the Court shall remit the funds to
 □     (13)     if the probation officer determines that you pose a risk to another person (including an organization or members of the
                community), the probation officer may require you to tell the person about the risk, and you must comply with that
                instruction. Such notification could include advising the person about your record of arrests and convictions and
                 ^“bstance use. The probation officer may contact                                         told the person about the risk.
 □     (14)
 □     (15)      Other:
              Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 14 of 23 PageID #:1868
ILND 245C(Rev.9/23/2019) Amended Judgment in a Criminal Case                                                    (Note; Identify Changes with Asterisks(*))
Sheet 5- Criminal Monetary Penalties
                                                                                                                ^^^ ^^^^^Judgment^Pa|e7 of|
DEFENDANT: ROBERT O’ROURKE
CASE NUMBER: 1:17-CR-00495{1)
                                        CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                              Assessment       JVTA Assessment*                             Fine                     Restitution
 TOTALS                                           $700.00                        $.00               $100,000.00                              $.00



   □      The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (A02-I5C) will be entered after
          such determination.


   □      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

        □        Restitution amount ordered pursuant to plea agreement $
        □       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be
                subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        □       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                    □    the interest requirement is waived for the
                    □    the interest requirement for the       is modified as follows:


♦Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
♦ Findings for the total amount of losses are required under Chapters 109 A, 110,1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
               Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 15 of 23 PageID #:1869
ILND 245C(Rev.9/23/2019) Amended Judgment in a Criminal Case                                                     (Note: Identify Changes with Asterisks(*))
                                                                                                                    ^^^^^^^^^^^^Judgment^^Page8jf£
DEFENDANT; ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A      (*)S Lump sum payment of$100,700.00 due immediately.

                  □     balance due not later than         ,or

                □       balance due in accordance with         □ C,   □ D,      □ E, or □ F below; or

B          □ Payment to begin immediately (may be combined with              □ C,     □ D, or     □ F below); or

C          □ Payment in equal             {e.g. weekly, monthly, quarterly) installments of $        over a period of          (e.g.. months-or years), to
               commence
                                  (e.g., 30 or 60 days) after the date of this judgment; or

D          □ Payment in equal            (e.g. weekly, monthly, quarterly) installments ofS          over a period of          (e.g.. months or years), to
               commence
                                  (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or
E          □ Payment during the term of supervised release will commence within
                                                                                                (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F          □   Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
    □ Joint and Several

Case Number                                     Total Amount                 Joint and Several          Corresponding Payee, if
Defendant and Co-Defendant Names                                             Amount                     Appropriate
(including defendant number)

♦*See above for Defendant and Co-Defendant Names and Case Numbers {including defendant number). Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.

    n The defendant shall pay the cost of prosecution.

    □ The defendant shall pay the following court cost(s):
    □ The defendant shall forfeit the defendant’s interest in the following property to the United States:
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
          Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 16 of 23 PageID #:1870

                                                                                                                                            M



                                UNITED STATES DISTEUCT COURT
                                                         Northern District of Illinois


              UNITED STATES OF AMERICA
                                                                      )
                                                                      )
                                                                              JUDGMENT IN A CRIMINAL CASE
                                    V.
                                                                      )
                                                                      )
                     ROBERT O'ROURKE
                                                                      )       Case Number:              I:17-CR-00495(1)
                                                                      )       USM Number:               52509-424
                                                                      )
                                                                      )
                                                                      )
                                                                      )       Anthony James Masciopinto
                                                                              Defendant’s Aitomey

THE DEFENDANT:
□ pleaded guilty to count(s)
□ pleaded nolo contendere to count(s)          which was accepted by the court
IS was found guilty on count(s) 1,2,3,4, 11, 12,13 of the indictment after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                Offense Ended          Count
 18:1832.F Theft Of Trade Secrets
                                                                                                    09/21/2015             I
 18:1832.F Theft Of Trade Secrets
                                                                                                    09/21/2015             2
 18:I832.F Theft Of Trade Secrets                                                                   09/21/2015             3
 18:1832.F Theft OfTtade Secrets
                                                                                                    09/21/2015             4
 18:1832.F Theft Of Trade Secrets
                                                                                                    09/21/2015             II
 18:1832.F Theft Of Trade Secrets
                                                                                                    09/21/2015             12
 18:1832.F Theft Of Trade Secrets
                                                                                                    09/21/2015             13




lit oHM?”* sentenced as provided in pages 2 through 8 of this Judgment The sentence is imposed pursuant to the Sentencing Reform
IS The defendant has been found not guilty on counts) 5,6,7,8,9. and 10 of the indictment.
□ Count(s)      dismissed on the motion of the United States.

It is erdet^ that the defendant mu^ notify the United States Attorney for this District within 30 days of any change of name residence or
SSorf
restitution, the defendantr^'"“;"“I'S
                           must notify a"’        "U*!United States Attorney of material changes
                                       the court and                                       j“‘iement            paid.^If ordered’to pay
                                                                                                      are fullycircumstances
                                                                                                 in economic                        ^^
                                                                                                                                        ’
                                                                                 October 9,2019
                                                                                        flmposi         r«f Judgment

                                                                                            4^
                                                                                 Signature of Judge
                                                                                 Andrea R. Wood, United States District Judge
                                                                                 Name and Title of Judge
                                                                                 A>j7r/u. X>t
                                                                                 Date               ^
           Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 17 of 23 PageID #:1871


ILND 24SB(Rev.09/23/2019 Jiulgmenl in a Criminal Case
Shed 2-Imprisonment                                                                                                          Judement- Paac 2of8

DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)
                                                            IMPRISONMENT

The defendant is hereby committed to die custody ofthe United States Bureau ofPrisons to be imprisoned for a total term of:
12 months and I day as to each ofCounts 1,2,3,4,11, 12,and 13 ofthe IndicUnent, terms to be served concuirently.

IS        The court makes the following recommendations to the Bureau of Prisons:
Court recommends Defendant to be placed at FCl Oxford.
□         The defendant is remanded to the custody of the United States Marshal.
□         The defendant shall surrender to the United States Marshal for this district;

          □         at        on



     □         as notified by the United States Marshal.
     la        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Wsons:
                    before 2:00 pm on 1/6/2020

          □         as notified by (he United States Marshal.
          □         as notified by the Probation or Pretrial Services Office.




                                                                   RETURN


I have executed this judgment as follows:




Defendant delivered on                    to                               at
                                                                                                                with a certified copy of this
Judgment




                                                                                     LIMITED STATES MARSHAL


                                                                                By
                                                                                     DEPUTY UNITED STATES MARSHAL
             Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 18 of 23 PageID #:1872


ILND 24SB (Rev.09/23/2019 Judgment in a Criminal Case
Shed 3-Supervised Release                                                                                                                      3of8
                                                                                                                              Jud^CTt^
DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(I)

        MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)
Upon release from imprisonment, you shall be on supervised release for a term of:
                                                                                                         “Vi
                    WM                                                                                                            '•’'iy




             The court imposes those conditions identified by checkmarks below:
During the period ofsupervised release:
 IS (i) you shall not commit another Federal, State, or local crime.
 IS (2) you shall not unlawfully possess a controlled substance.
 □ (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
              an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
              domestic violence crime, as defined in § 3561(b).]
 □ (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
              16913).
 IS (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 IS (6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
        supervised release and at least two periodic tests thereafter, up to 104 periodic tests for use of a controlled substance during
        ^h     year of supervised release. |This mandatory condition may be ameliorated or suspended by the court for any defendant
        if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]
 DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C 6 3563(b) AND
                                                               18 U.S.C§ 3583(d)
Discretionary Conditions-- The court orders that you abide by the following conditions during the term of supervised release because such
ronditiOTs are r^nably related to the factors set forth in § 3SS3(a)Q) and (a)f2)fB). fO, and fPl: .s.ich conditions involve only such
depnvattons of liberty or property as are reasonably necessary for the purposes Indicated in § 3553 faV21 fBT rci. and rnv and such
ronditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S C 994a
The court Imposes those conditions identified by checkmarks below:
During the period of supervised release:
 □     (I) you shall provide financial support to any dependents if you are financially able to do so.
 □ (2) you shall make restitution to a victim ofthe offense under § 3^ (but not subject to the limitation of § 3663fal            or


 □     (3)      you shall give to the victims of the offense notice pursuant to the provisions of § 3sss. as follows:
 B (4) you shall                and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
               conscientiously a course ofstudy or vocational training that will equip you for employment.
 □ (5) youshall refrain from enga^ng in the following occupation, business, or profession bearing a reasonably direct relationshin
       to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
       stated degree or under stated circumstances; (if checked yes, please indicate restriction(s))
 8 (6) you shall not knowingly meet or communicate with any person      whom you know to be engaged, e or pplanningg
               to be engaged, in criminal activity and shall not:
                 □ visit the following type of places:
                □ knowingly meet or communicate with the following persons:
 H (7) you shall refrain from □ any or H excessive use of alcohol (definedls B having a blood alcohol concentration
               g^er thai^.08; or □            ), and from any use of a narcotic drug or other controlled substance, as defined in 8 102
 BB (83
    (8) vou^diSf
        you shall not possess a firearm,^ destructive
                                            ^ device, ^ or other dangerous
                                                                  ® Prescription by a licensed medical practitioner.
                                                                            weapon.
 H (9) B you shall participate, at the direction ofa probation officer, in a substance abuse treatment program, which may
                        include unne testing up to a maximum of 104 tests per year.                                     ^                  ^
                 B you sl^l participate, at Ae direction of a probation officer, in a mental health treatment program, and shall take
                   any medications prescnbed by the mental health treatment provider.
                 ° S? I^^lpare. at the direction of a probation officer, in medical care; (if checked yes, please specify:
          Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 19 of 23 PageID #:1873


ILND 245B(Rev.09/23/2019 Judgment in a Criminal Case
Sheet3-Supeivised Release                                                                                                        Judameni-Paeedofg
DEFENDANT: ROBERT O’ROURKE
CASE NUMBER: 1:17-CR-00495(1)
 □     (10)    (intermittent confinement): you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                intervals of time, totaling         [no more than the lesser of one year or the term of imprisonment authorized for the
                offense], during the first year of the term of supervised release (provided, however, that a condition set forth in
                §3S63(b)(10) shall be imposed only for a violation of a condition of supervised release in accordance with § 3583(e)(2)
                and only when facilities are available) for the following period
 □      (11) (community confinement): you shall reside at, or participate in the program of a community corrections facility
             (including a facility maintained or under contract to the Bureau of Prisons) for all or part of the term of supervised
                release, for a period of^BI months.
 □     (12)    you shall work in community service for          hours as directed by a probation officer,
 □     (13)    you shall reside in die following place or area:      or refrain from residing in a specified place or area
 B      (14) you shall not knowingly leave from the federal judicial district where you are being supervised, unless
              granted permission to leave by the court or a probation officer. The geographic area of the Eastern District of Wisconsin
       currently consists of the Wisconsin counties of Dodge, Fond Du Uc, Green Uke, Kenosha, Marquette, Menominee, Milwaukee,
       Ozaukee, Racine, Sheboygan, Walworth, Washington, Waukesha, and Waushara.
 Bl (15) you shall report to the probation office in the federal judicial district to which you are released within 72 hours of your
         release from imprisonment You shall thereafter report to a probation officer at reasonable times as directed by the court
              or a probation officer,
 B     (16) B          you shall permit a probation officer to visit you B at any reasonable time or □ as specified:
                       IS at home                 19 at work                  □ at school                  B at a community service locati on
                       B other reasonable location specified by a probation officer
           IS you shall permit confiscation of any contraband observed in plain view of the probation officer.
 B (17) you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer,               or
              workplace and, absent constitutional or other legal privilege, answer inquiries by a probadon officer. You shall answer
        truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
 B (18) you shall nodfy a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
              enforcement officer.
 □     (19) (home confinement)
              □
                      (aXO (home incarceration) for a penod of months, you are restricted to your residence at all times except for
                      medical necessities and court appearances or other aaivities specifically approved by the court.
              □       (aXii) (home detention) for a period of _ months, you are restricted to your residence at all times except for
                      employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits;
                      court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
              □       (aXiii) (curfew) for a period of _ months, you are restricted to your residence every day.
              □       from the times directed by the probation officer; or □ from       to
              □       (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                      by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                      by all technology requirements,
              □       (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are financially
                      able to do so.
 □ (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State the
        Di^ct of Columbia, or My other possession or territoiy of the United States, requiring payments by you for the suppiirt
        and maintenance of a child or of a child and the parent with whom the child is living.
 □ (21) (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                                                           appropri^e authority in accordance with the laws under the Immigration
               MUnited
                       Si wfh ? i f»»*>‘ished implementing regulations. If ordered deported, you shall not remain in or eSr the
                  S States Secretary
                           c * of the Department
                                          advance,ofthe express written consent of the United States Attorney General or the
                                                     Homeland              Security.                                      ^
 B     (22) you shall satisfy such other special conditions as ordered below.
 □ (23) You sh^submit your p^n. property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C. 1030(e)( I))
                     “SI"
              Probation Officer(s). Failure to submit tostorage
                                                         a search‘•e^'ices or media,] or office, to a search conducted by a United States
                                                                   may be grounds for revocation of release. You shall warn any other
                                                       re^nahle suspicion exists that you have violated a condition of your supervision and
 □     (24)    Other
             Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 20 of 23 PageID #:1874


ILND 24SB(Rev.09/23/2019 Judgment in a Criminal C^ase
                                                                                                                                               5 of8
DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)
SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3563(b){22)and 3583(d)
The court imposes those conditions identified by checkmarks below:

Daring the term ofsupervised release:
 □     (1)       if you have not obtained a hig^ school diploma or equivalent, you shall participate in a General Educational
                 Development (GED) preparation course and seek to obtain a GED within the first year of supervision,
 □     (2)       you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                 days of placement on supervision,
 H     (3)       you shall, If unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                 from employment, perform at least 20 hours of community service per week at the direction of the probation office until
                 gainfully employed. The total amount of community service required over your term of service shall not exceed 400
                 hours,
 □     (4)       you shall not maintain employment where you have access to other individual’s personal information, including, but not
                 limited to. Social Security numbers and credit card numbers {or money) unless approved by a probation officer,
 H     (5)       you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
                 unless you are in compliance with the financial obligations imposed by this judgment,
 B     (6)       you shall provide a probation officer with access to any requested financial information requested by the probation
                 officer to monitor compliance with conditions of supervised release.
 B     (7)       within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
                 restitution, fines, or special assessments, you must notify the probation officer of the change,
 □     (8)       you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
 □     (9)      you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                pro^ion officer. You shall comply wWi all recommended treatment which may include psychological and physiological
                testing. You shall maintain use of all prescribed medications.
                □
                        You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                        United States Probation Office. You shall consent to the installation of computer monitoring software on all
                        identified computers to which you have access and to which the probation officer has legitimate access by right or
                        consent The softw^ may restnct and/or record any and all activity on the computer, including the capture of
                        keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
                        will be placed on the computer at die time of installation to warn others of the existence of the monitoring
                        software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
                □
                       The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                       to satisfrction of other financial obliptions imposed by this judgment.
                □
                       You shall not possess or use at any location (including
                       device, or any device with access to the Internet or any your place of employment), any computer, external storage
                                                                                online computer service without the prior approval of a
                       probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
                       network or email system                                                                               k        k
                □      You shall not possess any device that could be used for covert photography wfthout the prior approval of a
                       probation officer.
                □
                       You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                       sexually ^mulating material may be detrimental to the treatment process, or that additional conditions are likely
                       to assist the treatment process, such proposed condftions shall be promptly presented to the court for a
                       determination, pursuant to 18 U.S.C:. § 3S83(eK2), regarding whether to enlarge or otherwise modify the
                       conditions of supervision to include conditions consistent with the recommendations of the treatmen t provider.
               □
                       You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                       you in unsu^rvised private contact with any person under the age of 18, and you shall not knowingly visit
                                                                  **          congregate, including parks, schools, school b^s stops,
                                         childc^   fecilitiw. This
                       business or unintentional incidental contactcondition does not apply to contact in the course of normal commercial
                □
                □
                       This condition does not apply to your family members:          [Names]
                                                  ^            the j^icial district and division where you reside or are supervised, unless
                                                    ^ in order to allow accepting any form of employment, you shall seek the
                       approval of a probation officer,                the probation officer the opfrortunity to assess the level of risk to
                       ac'irSat                                      ®                     YOU ahal^^^ot pafficrpS^a^ lolun2
           Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 21 of 23 PageID #:1875


ILND 245B (Rev.09/23/2019 Judgincnl in a Criminal Case
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DEFENDANT: ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495(1)
                □       You shall provide the probation officer with copies of your telephone bills, all credit card staiements/receipts, and
                        any other financial information requested.
                 □      You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                        impose restrictions beyond those set forth in this order,
  El   (10)       you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
                 commencement of the term of supervised release, at a rate of not less than 10% of the total of your gross earnings minus
                  federal and state income tax withholdings,
  S     (11)      you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                 prior permission of the court,
 □      (12)      you shall pay to the Clerk of the Court SSi as repayment to the United States of government funds you received
                 d.qm^he investigation of this offense. (The Clerk of the Court shall remit the funds to 7^ >r{jfet;botli Agen&yitmd
 □      (13)     if the probation officer determines that you pose a risk to another person (including an organization or members of the
                 community), the probation officer may require you to tell the person about the risk, and you must comply with that
                  instruction. Such notification could include advising the person about your record of arrests and convictions and
 □     (14)                               £2^
 □     (15)       Othen^
           Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 22 of 23 PageID #:1876


ILND 24SB(Rev.09/23/2019 Judgment in a Criminal Case
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DEFENDANT; ROBERT O'ROURKE
CASE NUMBER: 1:17-CR-00495{l)


                                            CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                              Assessment       JVTA Assessment*                            Fine                  Restitution
 TOTALS                                          S700.00                        $.00               $100,000.00                          $.00



 □      The determination of restitution is deferred until          . An AmendedJudgment in a Criminal Case (A0245C) will be entered after such
        determination.
 □      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U,S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid.


      □          Restitution amount ordered pursuant to plea agreement $
      □          The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                 before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet
                 6 may be subject to penalties for delinquency and default, pursuant to 18 UAC. § 3612(g).
      □
                 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                 □               the interest requirement is waived for the
                 □               the interest requirement for the        is modified as follows:

      □          The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution or fine
                 obligations.

      ♦ Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
      ♦ Findings for the total amount of losses are required under Chapters 109A, 110,1 lOA, and 113A of Title 18 for offenses committed
      on or after September 13,1994, but before April 23, 1996.
            Case: 1:17-cr-00495 Document #: 185 Filed: 11/20/19 Page 23 of 23 PageID #:1877

ILND 24SB(Rev.09/23/2019)Judgment in a Criminal Case
SlieetO-Schedule ofP^ents                                                                                                      Judgment-Page 8 of8
DEFENDANT: ROBERT O'ROURI^
CASENUMBER: 1:17-CR-00495(1)
                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment ofthe total criminal monetaiy penalties is due as follows:

A      IS     Lump sum payment ofSTOO.OO due immediately.
              □         balance due not later than        .or

              □         balance due in accordance with □ C, □ D, □ E, or □ F below; or


B      □      Payment to begin immediately (may be combined with □ C, □ D, or □ F below); or
C      □      Payment in equal            (&g. weekly, monthly, quarterly) installments of $         over a period of        (e.g.. months or years), to
              commence
                                  (e.g.. 30 or 60 days) after the date of this judgment; or

D      □      Payment in equal           (ag. weekly, monthly, quarterly) installments of $          over a period of        (e.g.. months or years), to
              commence
                                  (e.g.. 30 or 60 days) after release from imprisonment to a term of superv ision; or
E      □      Payment during the term of supervised release will commence within                (e.g.. 30 or 60 days) after release from imprisonment.
              The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F      □      Special instructions regarding die payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
dimng imprisonment. All criminal monetary penalties, exc^t those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
□      Joint and Several

Case Number                                     Total Amount                Joint and Several             Corresponding Payee, if
Defendant and Co-Defendant Names                                            Amount                        Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

D     The defendant shall pay the cost of prosecution,
n     The defendant shall pay the following court cost(s):
□     The defendant shall forfeit the defendant’s interest in the following property to the United States:

Pa^ente
(5)         ^be(6)^plied
    fine interest,       m therestitution,
                   community   following order   (1) assessment,
                                           (7) penalties,
                                                                     (2) restitution principal, (3) restitution interest.
                                                                                                                   (4) fine principal
                                                          and (8) costs, including cost of prosecution and court cost
                                                                             f   ■
